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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
 NEQUAVA MATTHEWS, on behalf of herself                :   CIVIL ACTION
 and others similarly situated,                        :
                                Plaintiff,             :   FILED ELECTRONICALLY
                     v.                                :   ON NOVEMBER 18, 2022
                                                       :
 PHILADELPHIA CORPORATION FOR                          :   CLASS/COLLECTIVE ACTION
 AGING,                                                :
                      Defendant.                       :   JURY TRIAL DEMANDED
                                                       :
                                                       :

                       COMPLAINT – CLASS/COLLECTIVE ACTION

       Nequava Matthews (“Plaintiff”) brings this lawsuit against Philadelphia Corporation for

Aging (“Defendant”), seeking all available relief under the Fair Labor Standards Act (“FLSA”),

29 U.S.C. §§ 201, et seq., and the Pennsylvania Minimum Wage Act (“PMWA”), 43 P.S. §§

333.101, et seq. Plaintiff’s FLSA claim is asserted as a collective action under 29 U.S.C. §

216(b), while her PMWA claim is asserted as a class action under Federal Rule of Civil

Procedure 23. See Knepper v. Rite Aid Corp., 675 F.3d 249 (3d Cir. 2012) (collective and class

claims may proceed together in the same lawsuit).

                                  JURISDICTION AND VENUE

       1.        Jurisdiction over the FLSA claim is proper under 29 U.S.C. § 216(b) and 28

U.S.C. § 1331.

       2.        Jurisdiction over the PMWA claim is proper under 28 U.S.C. § 1367.

       3.        Venue in this Court is proper under 28 U.S.C. § 1391.

                                             PARTIES

       4.        Plaintiff resides in Philadelphia, PA (Philadelphia County).

       5.        Defendant is a corporate entity headquartered in Philadelphia, PA (Philadelphia
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County).

         6.       Plaintiff is an employee covered by the FLSA and PMWA.

         7.       Defendant is an employer covered by the FLSA and PMWA.

                                               FACTS

         8.       Defendant contracts with the Commonwealth of Pennsylvania and/or the City of

Philadelphia to provide, inter alia, an “Older Adult Protective Services (OAPS) team” that

“helps to detect, prevent and protect older Philadelphians from all forms of abuse, including

physical, sexual and psychological abuse; self-neglect or neglect by a caregiver; and financial

exploitation.”1

         9.       Defendant’s OAPS team includes employees in the job title of “Investigator.”

These investigators are paid annual salaries ranging from approximately $45,000 - 53,000 and

primarily are tasked with investigating reports of suspected abuse, neglect and financial

exploitation of Philadelphians aged 60 and over.

         10.      Defendant, as a matter of policy, does not pay OAPS investigators any overtime

wages for hours worked over 40 per week.

         11.      Plaintiff was employed by defendant as an OAPS Investigator from

approximately January 2020 until approximately August 2021. She was paid an annual salary

within the range described in paragraph 9.

         12.      Plaintiff, like other OAPS investigators, regularly worked over 40 hours per week.

Specifically, Plaintiff often worked over 45 hours per week and, on some weeks, worked over 55

hours.




1
   https://www.pcacares.org/services/protection-advocacy/older-adult-protective-services/ (last
visited 11/18/22).


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       13.      Plaintiff, like other OAPS investigators, did not receive any overtime wages for

hours worked over 40 per week.

       14.      Defendant’s failure to pay overtime wages to Plaintiff and other OAPS

investigators was undertaken willfully and with reckless disregard of clearly applicable FLSA

and PMWA provisions. See, e.g., 29 C.F.R. § 541.3(b)(1) (“investigators” generally entitled to

overtime wages under FLSA).

                      CLASS/COLLECTIVE ACTION ALLEGATIONS

       15.     Plaintiff brings her FLSA claim as a collective action pursuant to 29 U.S.C.

§216(b) and brings her PMWA claim as a class action pursuant to Federal Rule of Civil

Procedure 23. She sues on behalf of all individuals employed by Defendant as OACS

Investigators during any week within the past three years. 2

       16.     Plaintiff’s FLSA claim should proceed as a collective action because she and

other putative collective members, having worked pursuant to the common compensation

policies described herein, are “similarly situated” as that term is defined in 29 U.S.C. § 216(b)

and the associated decisional law.

       17.     Class action treatment of Plaintiff’s PMWA claim is appropriate because, as

alleged below, all of Federal Rule of Civil Procedure 23’s class action requisites are satisfied.

       18.     The class, upon information and belief, includes over 50 individuals, all of whom


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   The PMWA carries a mandatory three-year limitations period. See Cerutti v. Frito Lay, Inc.,
777 F. Supp. 2d 920, 925 n. 4 (W.D. Pa. 2011). The FLSA, meanwhile, carries a two-year
limitations period that can be extended to three-years in the event of a “willful” FLSA violation.
See 29 U.S.C. § 216(b). The ultimate determination of whether Defendant “willfully” violated
the FLSA must await discovery. See Jones v. Giant Eagle, Inc., 2019 WL 5073661, 2019 U.S.
Dist. LEXIS 142135, *14-15 (W.D. Pa. Aug 20, 2019); Rapczynski v. DIRECTV, LLC, 2016 WL
1071022, 2016 U.S. Dist. LEXIS 34833, *19-21 (M.D. Pa. Mar. 17, 2016); see, e.g., Souryavong
v. Lackawanna County, 872 F.3d 12, 126-27 (3d Cir. 2017) (finding lack of willfulness based on
post-discovery summary judgment record).


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are readily ascertainable based on Defendant’s payroll records and are so numerous that joinder

of all class members is impracticable.

        19.     Plaintiff is a class member, her claims are typical of the claims of other class

members, and she has no interests that are antagonistic to or in conflict with the interests of other

class members.

        20.     Plaintiff and her lawyers will fairly and adequately represent the class members

and their interests.

        21.     Questions of law and fact are common to all class members, because, inter alia,

this action concerns Defendants’ common compensation policies, as described herein. The

legality of these policies will be determined through the application of generally applicable legal

principles to common facts.

        22.     Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over questions affecting only individual

class members and because a class action is superior to other available methods for the fair and

efficient adjudication of this litigation.

                                              COUNT I
                                     (Alleging FLSA Violations)

        23.     All previous paragraphs are incorporated as though fully set forth herein.

        24.     The FLSA requires that employees receive overtime premium compensation “not

less than one and one-half times” their regular pay rate for hours worked over 40 per week. See

29 U.S.C. § 207(a)(1).

        25.     Defendant violated the FLSA by failing to pay Plaintiff and the FLSA collective

overtime wages for all hours worked over 40 per week.

        26.     In violating the FLSA, Defendant acted willfully and with reckless disregard of



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clearly applicable FLSA provisions and, as such, willfully violated the FLSA.

                                           COUNT II
                                  (Alleging PMWA Violations)

       27.     All previous paragraphs are incorporated as though fully set forth herein.

       28.     The PMWA requires that employees receive overtime premium compensation

“not less than one and one-half times” the employee’s regular pay rate for hours worked over 40

per week. See 43 P.S. § 333.104(c).

       29.     Defendant violated the PMWA by failing to pay Plaintiff and the Rule 23 class

overtime wages for all hours worked over 40 per week.

                                         JURY DEMAND

       Plaintiff demands a jury trial.

                                    PRAYER FOR RELIEF

       Plaintiff, on behalf of herself and other members of the class/collective, seeks the

following relief:

       A.      Unpaid overtime wages and prejudgment interest;

       B.      Liquidated damages to the fullest extent permitted under the FLSA;

       C.      Litigation costs, expenses, and attorneys’ fees; and

       D.      Such other and further relief as the Court deems just and proper.

 Date: November 18, 2022                                   Respectfully,



                                                           ___________________________
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                                                           Plaintiff’s Counsel


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